Case 2:16-cv-01106-JCC Document 18 Filed 10/04/16 Page 1 of 24

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2

 

 

=
: SNOHOMISH COUNTY SHERIFF’S OFFICE
INTEGRITY +« DIGNITY « COMMITMENT + PRIDE
Ty Trenary, Sheriff -

Date: October 8, 2015

Complaint
Number: 15-041 PC / Collision 15-036

To: Deputy R. Boyer #1538

men NN

 

This Office has completed this investigation and found the complaint filed against
you Sustained and warrants no further investigation.
ee

Ty Trenary, Sheriff

 
  

  
 

 

os YY
Heifzman, Sergeant

     

DS.

 

 

WS #606 + 3000 RockefellerAye + ‘Everett, WA 98201 + Phone:(425} 388-3393 + Fax:(425} 388-3865

 
Case 2:16-cv-01106-JCC. Document 18 Filed 10/04/16 Page 3 of 24

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sHEne SNOHOMISH COUNTY UNDERSHORIFE
_ SHERIFF’S OFFICE
INTEGRITY + DIGNITY - COMMITMENT - PRIDE

 

MEMORANDUM

 

DATE: September 8, 2015

 

TO: Capt. S. Johnson

FROM: Lt. R. Palmer

RE: Boyer Verbal Reprimand

Dep. Boyer and | met to discuss the disciplinary decision on his collision review and
determination of a policy violation under PPM 9.3.1 Emergency Vehicle Operations:
Exemption to Traffic Laws ~ Event SO15-13777

| explained the philosophy behind the Emergency Response Policy and expectations for
the future when he was engaged in pursuits or emergency responses; that we are

_ fesponsibie for complete awareness of our Surroundings and to drive in a manner that
allows us to avoid collisions that are within our control. Specifically that changing lanes
must be done in a controlled manner that affords other drivers time to react to our
presence, and allows sufficient safe distance for us to do so. Dep. Boyer indicated
compiete understanding of his responsibility for this event and similar circumstances in
the future. | additionally addressed the safety considerations for deputies and the public,
as well as liability concems for the Sherriff's Office

 

 

isfie : ed the appropriate responsibility for his action —
and understands expectations for future performance under this section.

“oe. J
rs Btosree adffaatty
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Lt.R.D. Palmer 1189 ~

South Precinct Commander

NORTH PRECINCT SOUTH PRECINCT. _ EAST PRECINCT CORRECTIONS . ADMINISTRATION
15100.40™ Ave NB. 55928 Mill Creck Blvd. " $ES MairStrect 3000 Rocketeller Ave. MS 309 3000 Rockefeller Ava. MIS 606
Marywville, WA ORZ7) Mill Creek, WA 98012 Sukan, WA 92204 ~ Everen, WA 98201 Everett, WA 98201

Phone (425) 388-5200 Phone (425) 333-5250 Phone (423) 398-6260 Phone (425) 388-3474 Prong (425) 388-3442

FAX G60) 653-2009 FAX (425).337-5809 FAX G60) 293-7774 FAX (425) 339-2244 PAX (425) 388-3805
 

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advised Tyler reported Bercier was wanted for “some sort of murder firearm charge." .

On this date, | was working uniformed patrol driving a marked black and white Snohomish County Sheriff's Vehicle XX153, equipped
with both over head lights and sirens, 1 was wearing a black Snohomish County Sheriff's Office uniform with a metal badge, Sheriffs
Office shoulder badges and the word SHERIFF on the back of my uniform.

Set. Geoghagan, Deputy Sadro and I headed towards the location. While enroute, dispatch provided a description of the subject as white
male, neck tattoos, black helmet, black motorcycle suit riding a black sports bike.

Sgt. Geoghagan advised the Bercier was wanted for Robbery | and Assault 1 and supposed to be going to prison. Sgt. Geoghagan
advised he had received information that Bercier was last seen northbound on SR527. I responded from I-5 and 164th ST SW with my
lights and sirens activated. .

At approximately 1500 hours, Deputy Sadro advised he had observed a subject and motorcycle northbound on SR 527 near 180th Si SE
Bothell. Deputy Sadro advised he was attempting to conduct a traffic stop but the motorcycle fled northbound on SR 527. 1 was.
located in the 17700 block of SR.527 heading Southbound when ! observed a black motorcycle fleeing from Deputy Sadro at a high

rate of speed. |

Based on the information from the original caller Tyler Halverson, the confirmed information Sgt. Geoghagan provided I engaged ina
pursuit, The subject was wanted for at least 2 B.A.R.R.K Felonies and | additional B_LA.R_R-K Felony, Assault 1, Robbery 1 and
Burglary | which were crimes against persons.

I had activated my lights and Sirens pursuing Bercier on his black motorcycle. Traffic was moderate and light at times and Speeds were
between 70-90 mph at times. Bercier continued to flee northbound on SR 527 passing on the shoulder weaving in and out of
northbound traffic. Bercier’s motorcycle was producing a large amount of smoke, almost so much J could not see traffic or Bercier, }
was forced to slow down many times to drive through intersections safely. Bercier continued northbound through Dumas RD. Bercier
continued through red lights failing to stop. Near 16th and [32nd ST SE, Bercier drove through 2 parking lot avoiding the traffic light
at SR 527 and 132nd ST SE. I was able to observe part of the motoreycie’s license plate as WA-4D. an :

Bercier continued westbound on 132nd ST SE passing Dumas RD and McCullum Park. Bercier was driving very recklessly trying to
avoid arrest. Bercier past multiple vehicle's on the far right side of westbound 128th ST SE near the }-5 over pass. 1 continued the
pursuit westbound over I-5 at 128th ST SW. Traffic was Stopped on the I-5 overpass at 128th ST SW for westbound red traffic signal.
Bercier past alf traffic on the far right and continued westbound, ,

I continued the pursuit, with my lights and sirens activated; | went around westbound traffic in the eastbound lane. I crossed back over
to the westbound 128th ST SW lanes on the west site of the overpass of I-5. I was involved in a collision. My right passenger side
quarter panel was struck by another vehicle. Per my memory it was 2 fan-or sold SUV.—]-advised-over radio tin i

collision but was going to continue the pursuit. 1 was struck very minerly and my vehicle was still operational.

    

 

   

  

Bercier continued to flee westbound 128th ST SW to 4th Ave W where he fled northbound. I continued the pursuit, traffic was
moderate and speeds reached 90 MPH. Deputy Sadro had been providing speeds, traffic conditions and direction of travel but after the
pursuit continued northbound he had fell too far behind to continue providing accurate information... -

> The pursuit continued northbound passine Mariner High School and through 112th ST SW. From northbound il2th ST SW, Bercier
passed multiple vehicles at 90 MPH on - outside shoulder of northbound 4th Ave W. 1 observed 2 young girls jump out of the way
of Bercier. | provided the information I had just wimess and the pursuit was terminated at Everett Mall Way and 4th Ave W.

i discontinued the pursuit and shut down roy lights and sirens. Multiple units canvassed the area but Bercier was not located.

 

 

 

 

 

 

 

 

 

 

 

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Case 2:16-cv-01106-JCC Document 18 Filed 10/04/16 Page 5 of 24

 

 

    
 

 

 

 

7 prem
. 7) ORIGINAL
- eo PAGE 1 OF 1
| NARRATIVE
SNOHOMISH COUNTY COLLISION SO 15-13777
SHERIFF'S OFFICE
HAME OF ORIGINAL VICTIRZS} REPORT DATE
08/12/15

 

 

 

On 08/12/15 I arrived at the SCSO South Precinct for my assigned shift. 1 checked my mail slot and found the
statement of Kelly Stickney in a sealed envelope. Stickney had witnessed the collision and had left her name
and contact phone number with Simpson. I had spoken to her via phone and she had agreed to complete the
statement.

Stickney essentially stated that she was in the Taco Time parking lot (north side of 128% St SW) and heard
police sirens. She said that she saw an E/B patrol car make a U-turn near the entrance to I-5 from 128" st Sw.
She saw a tan-ish colored van type vehicle W/B on 128" St SW, moving from the south (left lane) to, the north

_ (ight lane) side of W/B 128" St SW. She stated that the van was moving slowly and appeared to be attempting
to pull over. She remarked that traffic was heavy and there were numerous vehicles going east and west on
128" St SW. She stated that the patrol car struck the van while it was making the U-turn.

T will be faxing this follow-up and the attached statement of Stickney to CIU for addition to the original report.

End of report.

 

prfity (or decta t) under penalty of perjury under the laws of the State of W: ‘on that the foregoing is true and correct.

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Rev 06/05

 

 

 

 

 

 

 
Case 2:16-cv-01106-JCC Document 18 Filed 10/04/16 Page 6 of 24

EVIDENCE REPORT

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USE FOR EVIDENCE /PROPERTY BOOKED INTO EVIDENCE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ORIGINAL

SNOHOMISH COUNTY SHERIFF'S OFFICE | TYPE OF OFFENSE AGENCY ID AGENCY CASE NUMBER
REGIONAL EVIDENCE DIVISION COLLISION 1522 $015-13777
CTC TI Sts LI Wit bd COMP poe Civic Sus Dwi Ci tow DOB DATE / TRAE OF ORIGINAL REPORT
SIMPSON, AMBER E O6HG75 / : 280215 1504
BROUGHT TO COLLECTING OFFICER: TRANSPORTING OFFICER DRUG ANALYSIS [1 ITEMS) 2___
[J PROPERTY ROOM NAME # GELESPIE $1999 NAME SAME BLOOD ALCOHOL CITEMSW
ig SOUTH PRECINCT DATE 08045 DATE - TIME - FLMEJ QUANTITY EACH
OTHER SIGNATURE SIGNATURE - FINGERPRINTING [_] EMSS
ACTION NUMBER. EVIDENCE -- WILL BE HELD UNTE. COURT DISPOSITION OR AUTHORIZATION FROM OFFICER
3- EVIDENCE; 5 FOUND; 10-SAFEKEEPING | FOUND AND SAFEKEEPING - WiLL BE HELD FOR 60 DAYS OR 60 DAY'S PAST OWNER NOTIFICATION EXCEPT FOR
ITEM'S) ENTERED BY COURT ORDER
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~SHF238 Rev 0109

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Case 2:16-cv-01106-JCC Document 18 -Filed 10/04/16 Page 7 of 24

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‘Snohomish County Sheriff’s Office — taciaeats SoS -4Z777
Statement Form |

 

  
 
  
 

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Deputy Signature? AE jm ¥ iciim/ Witness Signature: Qube as ny on
Z RG
Date: € rst Prime: 24 D Place Signed: £6 rei Wd Ga hee iof_\

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Case 2:16-cv-01106-JCC Document18 Filed 10/04/16 Page 8 of 24

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Snohomish County Sheriff’s Office — tmcidenteGovS- 13277
Statement Form

 

       
  

 

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Deputy Signatdire:_ : he
Date: 6 ¢ 2715 Time: Sf. qj Place Signed: futteth Ws Page 1 of |

 
Case 2:16-cv-01106-JCC. Document 18 Filed 10/04/16 Page 9 of 24

    

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| fi
Snohomish County Sheriff's Office w=
x a Statement Form Case #SO15- 1377 7
Statement of: Last Name: Stickney First: Kelly Middle: A

 

 

 

 

Ui ance: CAUCASION Hispanic: N Sex: E Hgt 5'8” Wet: 215Ibs Eye: BROWN Hair: LT BROWN
Home Address Soa |

P.O. Box Number: NA City: NA Zip: NA

Employer: Washington State DOC City: Monroe. WA

Home Fuss sal Work Phone: 360-794-2216 Cell Phone: 425-239-9943

Eni A Coc: Ph

 

(Established Furnily Member or Friera!}
Place statement taken (City): Lake Stevens ens Daic: $/6/2015Time: 16:00. :
Statement: On Sunday August 2, 2015 at approximately 15:00 1 was standing in the parking Jot of Taco Time (233 128" S: SW

 

appeared to be irvine to pull over, Traffic was heavy and there were multiple vehicles eoine east and west on 128" St SW. The
‘police car struck the van while it was making the U turn.

 

| HAVE READ EACH PAGE OF THIS STATEMENT CONSISTING OF _|__ PAGE(S).
i CERTIFY (OR DECLARE) UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF WASHINGTON °
THAT THE ENTIRE STATEMENT IS TRUE AND CORRECT.
Signature: ; Deputy: 7 < deSez. 8 1522 tof I .
384-217 Rev. 2208S

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Case 2:16-cv-01106-JCC Document 18 Filed 10/04/16 Page 10 of 24

 

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Snohomish County Sheriff’s Office  tncitents SotS- 12777
Statement Form

 

 
 
 
  
  

49
First Name: Bob
Race: HP Sex: AA Het:4

Home Address;
Place Statement Taken:
Employer:
Home Phone: ( )
E-Mail Address:

STATEMENT: T was S TepneX to nae a left Foon £ be ta
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iat the entire Statement is true and correct, {Initial} *

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Place Signed: k i fre ' Page I of \

Date: ed Erime A

 
 

Case 2:16-cv-01106-JCC Document 18 Filed 10/04/16 Page 11 of 24

CIU DOCUMENT ********)}Q NOT RELEASE

 

SNOHOMISH COUNTY SHERIFF’S OFFICE
PATROL CAR CRASH CHECK SHEET

Vehicle # XX153 Lic Plate # 94631C Deputy: Boyer Cage #SO15-13777

 

 

Detective Assigned: Kahler

 

ACTION _

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Incident date per CAD 08/02/15
Received by CIU 68/11/15
Copy A/B to Risk Management-M/S 610 _ _
Cc to Fleet t ]
opy A/B to Managemen -M/S 607 L B-17-15
Copy A/B to WSP/DOL via Admin LES :
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deputy/employee involved LA Va lwer &-{}- ic
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Complete copy to PDD Set. ve f
Complete copy to Civil Prosecutor _ wv Sf

 

 

 

 

 

 

 

 

 

 

* RISK MGMT- AUDREY WILSON - M/S 610
* FLEET MGMT - BRAD GRAFF ~ M/S 607
| # CIVIL PROSECUTOR — LISA LINDQUIST — M/S 504

S:\Field Operations\Special Operations\CIU\PatrolCollisions\Patrol Collision Checksfieet doc

 
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Case 2:16-cv-01106-JCC Document 18° Filed 10/04/16 Page 13 of 24

OPA Collision #5 O3L |
OPAPICH_+«S— o¥/ Pe

SNOHOMISH COUNTY SHERIFF’S OFFICE .
VEHICLE COLLISION/DAMAGE REVIEW AND COMMANDER'S ,JMMARY |

 

 

 

 

 

EMPLOYEE #538 SCSO CASE #S8O015-13777
Ryan Boyer #1538 YY Other Case or Incident #
ee Single Vehicle  [X] Multiple Vehicle
> : Property Damage |_| Pedestrian [_] other
LOCATION: OTHER VEHICLE DRIVER/PROPERTY OWNER:
200 block of 128" St. SW Everett SIMPSON, Amber
SHERIFF'S OFFICE VEHICLE INVOLVED: OTHER VEHICLE/PROPERTY DAMAGED: ~

(County number/Make/Model/Y ear/License number)
XX153 2010 Ford Crown Vie Lic# 94631C

 
   

 

 

 

 

DAMAGE ESTIMATE: DAMAGEESTIMATE:

[_] Totaled [_] Major (Over $5000) (_] Totaled ' [] Major (Over $5000)

[x] Minor (Under $5000) Driveable BZ ves [] No Minor (Under $5000) _Driveable [J ves [7] no.
EMPLOYEE INJURIES: [ ] yes YNo NIURIES: NO

 
    

Injury Synopsis:
MEDICAL CARE OBTAINED] yes J] No [JUNK | Mépicat Care oprained[] ves J no [1] unk
°S SUMMARY

Dep. Boyer was involved as lead vehicle in pursuit of a motocycle westbound on 128th St. SW. Dep. Boyer's
vehicle made contact with the left front. comer of Amber Simpson's vehicle as he moved right across travel _
lanes after going around slowed traffic. This occurred in the wesbound lanes of 128th adjacent totheI-5
southbound offramp intersection with 128th, His'right rear wheel arch and quarter panel made the contact and
was damaged to include paint scraping and creased metal. Simpson's vehicle suffered scraped paint and damage
to the left front bumper shroud. . a,

 

 

 

 

 

 

 

 

    
  
  

  

   

     

 
  

   

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who responded to déal with the collision investigation along with Dep. Gillespie. The pursuit was terminated

shortly after this based on other criteria. (This collision review is being completed seperately from the Pursuit
Review and none of the findings of this analysis will be based on the validity or policy actions of the pursuit
itself). The suspect being pursued was known to be a dangerous and reportedly armed individual who was the
subject of an extensive manhunt and listing on “Washington’s Most Wanted”, heightening the level of response
and urgency in bringing him into custody as a danger to the public.

Dep. Boyer believes that he was struck by Simpson's vehicle when she failed to properly yield to his emergency
signals and equipment. The intial scene investigation included a request for any traffic camera imagery in the
area that was available to shed light on that. CTU Sgt. Kahler informed me that no traffic camera imagery was —
obtainable and therefore is unavailable for use in making any such determination. Findings will be restricted to
witness information and deputy reports.

Vehicle Collision/Damage Review and Summary Rev 02/2015 - S/Templates and Forms/Commander Sunnnary’
SEE PPM 9.3.4

Page'l of 5

 
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Witness statements from Simpson, her passenger son a second vehicle in the traffic line driven by
Bob Knudsen and a pedestrian witness Amy Stickney contlict with Dep. Boyer’s belief that he had sufficient
room to maneuver back in front of Simpson’s vehicle and that she struck him by failing to properly yield to his
emergency equipment.

 

Knudson states that the deputy’s patrol vehicle passed him on the left, going partially onto the median due to

Knudson’s beginning to move left to allow the patrol car to pass him on the right. Knudson improperly moved’

left and Boyer properly @ (lid no} attempt to pass Knudson on the right, Gd) this created a situation that put Dep.

Boyer’ s venicl€é out of stability based on Knudson’s comment to Dep. Gillespie that the patrol car was
“squirrely” when it “side-swiped” the other vehicle.

 

Amber Simpson, and her son JJ both assert that she was moving to pull. over to the right upon hearing
the siren, but had insufficient opportunity to do so before being hit by Dep. Boyer’s car as he crossed in front: of
them. Witness Stickney erroneously believed that the | patrol car was making a U-turn in the intersection when
she looked up, but does state that the patrol car struck the other car as it passed in front of the civilian vehicle.

RCW 46.61 .035 allows authorized emergency vehiclesto- :

(b) Proceed past a red or stop signal or stop sign, but only after slowing down as may be necessary for safe
operation;

(c) Exceed the maximum speed limits so long as he or she does ger life or property:

(d) Disregard regulations governing direction of movement or turning in specified directions.

(3) The exemptions herein granted to an authorized emergency vehicle shall apply only when such vehicle is _
making use of visual signals meeting the requirements of RCW 46.37.190, except that: (a) An authorized
emergency vehicle operated as a police vehicle need not be equipped with or display a red light visible from in
front of the vehicle; (b) authorized emergency vehicles shall use audible signals when necessary to warn others
of the emergency nature of the situation but in no case shall they be required to use audible signals while parked
or standing.

(4) The foregoing provisions shall n not ot relieve the driver of an authorized emergency vehicle from the duty to
drive with due regard for. the safety: of all persons, nor shall such provisions protect the driver from the

 

 

CONSEQUENCES of his or her reckless disregard for the safety of others.

Deputy Boyer was using audible and visual signals as required in gx budjhere i is no information regarding the
color of any trafic signals controlling the right of way at the time. It appéars from the description of the moving
traffic that Simpson's vehicle was into or past the controlled portion of the intersection and the color of any
traffic signals is not directly relevant to the circumstances of this collision in her lane.

Subsection (4) above is most relevant as it is not shown that Dep. Boyer’s driving or actions involved “reckless
disregard”. His avoidance of Mr. Knudson improperly yielding to the left indicates that Dep. Boyer was driving _

within limits to react to unforesec ances and within his own abilities, butoes notyrelieve | the driver of

      

  

the emergency vehicle from the for their actions in doing so.

Dep. Boyer did follow PPM 9.8.1.1 by reporting the collision over his radio - thereby advising SnoPac - and
although he\did noty did strictly follow RCW 46.52.020 § 3, by stopping after the collsion to render any aid required
and es drivet information, that is mitigated by the circumstances and that the supervisor responded

Vehicle Collision/Damage Review and Summary Rev 02/2013 S/Templates and Forms/Commander Summary
SEE PPM 9.3.4 . ,

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Dep. Boyer did follow PPM 9.8.1.1 by reporting the collision over his radio - thereby advising SnoPac - and
although he did not strictly follow RCW 46.52.020 § 3, by stopping after the collsion to render any aid required
and exchange driver information, that is mitigated by the circumstances and that the supervisor responded __

immediately to handle that requirement. He did return to the scene after as the pursuit was terminated by Sgt. -
Geoghagan shortly after the collision occurred (based on the increasing danger to the public for other actions by
the fleeing motorcyclist).

Weighing the rapidly changing position of the vehicles involved, against the uncertainty that Ms. Simpson
adequately heeded the responsibility to yield, (or if there was sufficient time for her to do so), The facts appear
to show that Dep. Boyer encountered a difficult intersection while pursuing a dangerous person and avoided one
potential collision, which in tum created a slight instabili the second collision. While his
attention to safely transiting the 4s. noteworthy, ultimate responsibility for this collision does rest. _
with him as he had the respnsibili ithe lane he was entering was fully clear befor doing so. This
results in a fin Teventable and as he failed to properly clear the lan¢ho’ was entering, of traffic With the
right of vay. wou cont a violation of PPM section 2.1.3 Emergency Vehicle Operation: Exemption
to Traffic Laws. Specifically subection 3." These provisions\shall noPrelieve the driver from the duty to drive

' with due regard for the safety of all eee alee consequences of any reckless —
disregard for the safety o of others”. ~ mE ”

 
    
 
  

 

 

 

 

 

    

 

Vehicle Collision/Damage Review and Summary Rev 02/2015 . S/Templates and Forrus/Commander Summary

SEE PPM 9.8.4

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E TEWING SUPERVISOR’S RECOMMEND ONS.
-Cientenant or above) | : ins

 
 
  

   

FINDING:
PREVENTABLE
NON-PREVENTABLE

    
   

When making a fiiding of “Preventable” complete the Personnel Complaint Short Form and include the
completed form with this packet for Command review and concurrence. .

EVENT CLASSIFICATION:
ra COLLISION
WORK DAMAGE
[] VANDALISM
.LAWFUL INTERVENTION

[] UNKOWN
(Definitions may be located in PPM 9.8.7)

 

If there is not sufficient information to make a detertiination ch the box for “additional information
required”.
{| ADDITIONAL INFORMATION REQUIRED.

   

Date: g/o2 i i<

  

Reviewing Supervisor’s Signature “<4 “’ ¥

 

 

 

 

 
      

~siconcur with THE FINDING
| DO NOT CONCUR WITH THE FINDING

    
  

If the Commander does not 6d i Finding check ‘the appropriate finding.
Fl _ PREVENTABLE [] NON-PREVENTABLE

 

 

Commander’s Signature Fy 216 Date_O7 -0/-45
a,
Vehicle Collision/Damage Review and Summary Rev 02/2015 - S/Templaies and Forme/Commander Sumuiary

SEE PPM 9.8.4

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2

_-~~_ BUREAU CHIEF - CONCURRENCE AND ACTION TAKEN

/ (Bureau Chief's Responsibilities: PPM 9.8. 5)

   

   

BO I CONCUR WITH THE FINDING
[-] _1DONOT CONCUR WITH THE FINDIN

  
    

  

If the Bureau 7 Gir with the Finding check the appropriate finding.
[|] PREVENTABLE [-] -NON-PREVENTABLE
If a finding is “Non-Preventable” an absolved letter should be sent to the subject einployee.

[] ABSOLVED: Absolved Letter sent to subject employee on date:

If the collision is statutorily reportable, the Bureau Chief shall:cause an Affidavit to be completed verifying the
employee was performing occupational duties at the ‘time the collision. occurred, and cause said Affidavit to be

[] Affidavit sent to DOL Financial Responsibility Deparment (if reportable).

Bureau Chief's Signature: yn f

 

Date: of: 2s); ve

 

 

 

 

 

Undersheriff's Signatmre:_- -T2~W GG — Date:_ lo-5-1¢
Sheriff's Signature?” | : Date:
COPY FORWARDED TO:

[-] County Executive, Director of Operations M/S 407
[-] Fleet Management M/S 610
[-] County Shop M/S 205

Vehicle Colfision/Damage Review and Sunanary Rev 02/2015 S/Templaies and Forms*Commander Summary
SEE PPM 9.8.4 , .

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SNOHOMISH COUNTY SHERIFF'S OFFICE

PERSONNEL COMPLAINT SHORT FORM
Only use this form as a supplement to a Commander’s Summary.

ADDITIONAL INVESTIGATION NARRATIVE (lf needed)

The attached Vehicle Collision/Damage and Commander's Summary led to a determination of
Preventable and a preliminary finding of SUSTAINED for violation of PPM section 9.3.1 Emergency
Vehicle Operation: Exemption from Traffic Laws based on Deputy Boyer failing to properly clear a
lane of other vehicles before entering that lane, causing a collision to occur. Capt. S. Johnson

_ concurred with that finding and returned the packet for completion of the Personnel Complaint

investigation and disposition. ‘

On 9/8/2015, | contacted Dep. Boyer during his shift to advise him of the completion of the review
process and to discuss the findings with him. Dep. Boyer met with me at my office at about 1300 this
date and the following is a summary of the process completed.

| reviewed the findings in the collision investigation and the information used in my determination. |
explained the finding of Preventable and how that determination was reached. | then explained that -
this led to a preliminary finding of a sustained policy violation and explained the personnel complaint
process to him. | advised Dep. Boyer that because there was an attendant policy violation
recommended in my collision review, that he had the right to representation by a member of his
bargaining unit during any discussions with me on facts or investigative questions regarding that
process. | explained that | would not be questioning him about the facts of the investigation during

this meeting unless he affirmatively waived his right to representation, but that he was free to ask me

any questions about the process or findings. | allowed him to read through the collision review and
reports before we finished. During that process, Dep. Boyer did find one inaccuracy and did clarify
one other point that was unclear — He did tell me that the traffic signal for westbound traffic on. 128th

‘was green; I had been unable to find any reference to the traffic signal color in the reports or

statements. Secondly, | had incorrectly believed that the collision occurred further west than

- depicted in the collision diagram based on my belief that the civilian car had exited southbound I-5

and had been past the traffic signal at the time of the collision. Dep. Boyer corrected me in that the
civilian vehicle had exited northbound I-5, was transiting the intersection on the green signal when he

 

 

cbr

collided with if, and that the diagram was correct. Neither point materially changed the relevant facts
or finding. { revised this portion of the collision summary, omitting that erroneous information, and
placed the corrected copy in the packet after he had reviewed the new wording. :

When Dep. Boyer finished reading the information, he advised me that he did not want to have a
representative with him and desired to finish the personnel complaint process quickly. | asked him if
there was any other factually incorrect information in the collision review or reports and he stated that
it appeared to be accurate to the best of his recollection.

| had no further clarifying questions as he had already answered the two (above) that I did have. |
explained that | would typically provide him with an opportunity to provide me with any mitigating or
exculpatory information before | came to a disciplinary decision, under Laudermill, and Dep. Boyer felt
that this would be an unnecessary step as he had no other facts or information he believed would be
relevant. He said that he understood the decision | had reached and how it was made. He accepted
that, although he believed at the time he had enough room to safely move into Simpson's lane of
travel, he ultimately did not and the responsibility for the collision: ith him. | advised him that
my recommendation for disciplinary action would be for afverbal reprimand) Dep. Boyer advised that

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| SNOHOMISH COUNTY SHERIFF'S OFFICE

PERSONNEL COMPLAINT SHORT FORM

Only use this form as a supplement to a Commander's Summary.
-he found that acceptable and had no desire to prolong the process and he was fine with proceeding
today.

| explained the philosophy behind the Emergency Response Policy and expectations for the future
when he was engaged in pursuits or emergency responses; that we are responsible for complete
awareness of our surroundings and to drive in a manner that allows us to avoid collisions that are
within our control. Specifically that changing lanes must be done in a controlled manner that affords
oiher drivers time to react to our presence, and allows sufficient safe distance for us fo do so. Dep.
Boyer indicated complete understanding of his responsibility for this event and similar circumstances
in the future. | additionally addressed the safety considerations for deputies and the public, as well as
liability concerns for the Sherriff's Office. | explained that the verbal reprimand would be documented
in a memo attached to this document. ae

 
 
 
 

Foncem over a previous collision in which he received a disciplinary letter. l was
: m the OPA review and the following Considerations were taken into account. in my

_ determination of discipline. That finding and letter of discipline was for a backing collision in a parking
lot and had occurred within the previous 24 month, however it was finalized on September 15, 2013,
effectively one week short of the 24 month period typically considered in disciplinary determination.
Considering this, and the different facts of each collision, Id
disciplinary matrix as an escalator as conduct was significant
sufficient to show that a pattem was not being established.

It should be noted that we also spent considerable time discussing other issues not related to the
collision, including career development and future advancement in the organization. Dep. Boyer was
_ advised that | would forward the completed packet to Capt. Johnson for review and
concurrence

 
 

   
  

 

different and the timeline was

 

INVESTIGATORS FINDINGS AND RECOMMENDATION

 

Violation #1

 

 

Violation: G 2) GAL EREENL y VEC LE OFETATIONS + Ext PTie 5S Jt TRAP FIC LAWS
| Finding: Sustained Non-Sustained (a) (b)(c) [] Exonerated [] Unfounded [[] Undetermined (a) {b) (c) (d)

Negligence J] Reckless [] Intentional)
Violation #2

  

. Violation: .
Finding: [1] Sustained [[] Non-Sustained (a) {b) (c) ] Exonerated [1] Unfounded [7] Undeiermined (a) (b) (c) (a)

| (Culpability: [7] Negligence [] Reckless [1] Intentional) | |

Violation #3
Violation:

Finding: [1] Sustained [[] Non-Sustained (a) (b) (c) [1] Exonerated [1] Unfounded [[] Undetermined (a) (b) (c) (4)
(Culpability: (] Negligence [] Reckless [] intentional . : .

 

 

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Violation #4

Violation:

Finding: [J Sustained [1] Non-Sustained (a) (b) (c) [1] Exonerated [] Unfounded [] Undetermined (a) (b) (c) (d)
(Culpability: [1] Negligence [[] Reckless [J Intentional)

 

 

OPA File Review — The investigator is required to-compleie- -a-review if this Personnel Complaint is sustained. The
review must be completed prior to recommending discipline.
a

Pm

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Recommendation: [] N/A Bd Verbal Reprimand [] Written Reprimand Year _

 

CJ] Suspension__ days [] Demotion _[] Termination

 

 

 

 

 

 

 

 

 

 

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COMMAND CONCURRENCE
Date: PF. 08-15 1L4fconcur [| donot concur with the Finding
Print Name & Rank: | , | EkCeneur [1 do pf cojour with the Recommendation
}
3 mage c “i
Suid ~Tounsen* 12 (2 / eaPt. VY /
Remarks: : IN ANN Fr Z(
St \___Signature
Date: ILI} concur [] do hebconcur with the Finding
Print Name & Rank: t{-]concur [[] donotconcur with the Recommendation
Remarks:
Date: iLiconcur [] donot concur with the Finding
Print Name & Rank: i{]concur [[] donot concur with the Recommendation
Remarks:
‘ Signature

 

 

 

 

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SNOHOMISH COUNTY SHERIFF'S OFFICE
PERSONNEL COMPLAINT SHORT FORM

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FINAL DISPOSITION AUTHORIZEDBY\_

 

Date Print name Sb

OF.08-15 S.C Tennaso. 120

 

 

 

NOTIFICATIONS

 

 

+ [1] Complainant shall be notified in writing of the finding:

ff address/email is unavailable or refused explain below. Note how complainant was notified — phone, in person, not notified, etc.:

mA
By Whom: Print Name Signature Date

Employee notified of finding and “sposiion 4

ln OD Bac D2, demas alah

 

 

 

 

 

 

 

By Whom: Print Name fo AAA . Date
_ ADMINISTRATIVE REVIEW. __
Division Commander itials Date: 07-47. (5
Major: __.__ Initials Date:
Bureau Chief: AA initials Date:_G/ 2ch, C
‘| *Undersheriff: 19 initials ‘Date: by 5-4

*Sheriff: War Initials Date: \O-L-\S

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SNOHOMISH COUNTY SHERIFF'S OFFICE

PERSONNEL COMPLAINT SHORT FORM

Only use this form as a siipplement to a Commander's Summary.
* All findings that result in time loss and any complaint of siqnificance shall be reviewed by the Undersheriff. _

 

 

 

DISCIPLINE _

 

(] Original tetter placed in Personnel File

 

Date Print Name Signature

 

OFFICE OF PROFESSIONAL ACCOUNTABILITY

 

 

Et Employee notified in writing of finding and disposition (vie emai notifica

les sar Ds bien ayy
‘Date ~ Print Name — Signature ©

 

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Pip yes (] no lo 5-18 fon beret uk
Date Ss Print Name "Signature
[_] PID sent to PA for review

{attach email to indicate sent) Date

 

 

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Rev 02/2015

 

 

 

 
 

 

2 yan eee ed
From: Upton, James
Sent: Monday, February 09, 2015 8:54 AM
To: Boyer, Ryan
Subject: FW: 14-13176

SCSO has received a follow-up request from the county prosecutor on the aforementioned case which you investigated.
Attached you will find their original request. Please complete the requested investigation within two work weeks.
Turn in your original follow up to your shift Sergeant. Submit a copy of your follow up with the prosecutor's request to
the Property Crimes Sergeant. P/C Sgt. will forward copies to the PA.

if you are unable to complete the investigation requested or the request has come to you in error, please document the
reasons ona follow up report and submit this report as stated. ! will document the follow up has been completed and
forward it on to the appropriate DPA. :

James T. Upton

Detective Sergeant
Snohomish County Sheriff's Office
15928 Mill Creek Blvd.

Mill Creek, WA 98012
425-388-5258

Fax: 425-337-5809

 

 

From: PA Request

 

 

Sent: Monday, February 09, 2015 8:06 AM
Ta: Upton, James
From: Clarkson, Mona
Sent: Friday, February 06, 2015 11:35 AM
To: PA Request
Cc: Clarkson, Mona
Subject: Request For Investigation please
SNOHOMISH COUNTY PROSECUTING ATTORNEY'S OFFICE
REQUEST FOR INVESTIGATION

Date: February 6, 2015

Police Agency:, SNOHOMISH COUNTY SHERIFF'S OFFICE, Event: 1413176
Officer: PA REQUESTS/DEPUTY Boyer
Agency email PA REQUESTS
Suspect: ROBERT JOHN PRESTON
Crime: 1D Theft ~ Criminal impersonation, PSP 2(credit cards) and so much more.

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